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                                  IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF DELAWARE

    CIRBA INC. DIBIA DENSIFY                                    C . A. 19-742-LPS
    and CIRBA IP, INC.,

                                    Plaintiffs,                 JURY TRIAL DEMANDED

                 V.

    VMWARE, INC.,

                                    Defendant.




                      /.               fl'ftOl'O~        IIEDULING ORDER
                      ~-t'L--
            This_ day of ~
                                    £"~~2019,
                                         . ,. }b~,..--
                                                 the Court having conducted a Case Management

   Conference/ Rule 16 scheduling and planning conference pursuant to Local Rule 16.2(a) and

   Judge Stark's Revised Procedures for Managing Patent Cases (which is posted at

   http://www.ded.uscourts.gov; see Chambers, Judge Leonard P. Stark, Patent Cases) on August

   _ , 2019, and the parties having determined after discussion that the matter cannot be resolved at

   this juncture by settlement, voluntary mediation, or binding arbitration;

            IT IS HEREBY ORDERED that:

                1.         Rule 26(a)(l) Initial Disclosures and E-Discovery Default Standard. Unless

   otherwise agreed to by the parties, the parties shall make their initial disclosures pursuant to

   Federal Rule of Civil Procedure 26(a)(l ) on or before August 16, 2019. If they have not already

   done so, the parties are to review the Court's Default Standard for Discovery, Including Discovery

   of Electronically Stored Information ("ESI") (which is posted at http://www.ded.uscourts.gov; see

   Other Resources, Default Standards for Discovery, and is incorporated herein by reference).

            2.             Start of Discovery. A party may seek discovery from any source in accordance with
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   the Federal Rules of Civil Procedure and this Court's Local Rules.

            3.     [VMware proposes: Deadline to Answer & Counterclaim. By August 20, 20~19~ - -

   Defendant shall answer Plaintiffs complaint and assert any counterclaims

   2019, Plaintiff shall answer any counterclaims asserted by Defendant, pursuant to Federal Rule of

   Civil Procedure 12(a)(l)(B).]

            4.     Joinder of Other Parties and Amendment of Pleadings. All motions to join othe

   parties, and to amend or supplement the pleadings, shall be filed on or before~~~' - - - - - - -

   p.1=0p6sc~. A1:1g11st a0, 2019) [VMware propuses:-Septerobe.r     ta, 2019].

            5.     Papers Filed Under Seal. In accordance with section G of the Administrative

   Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

   document shall be filed electronically within seven (7) days of the filing of the sealed document.

            Should any party intend to request to seal or redact all or any portion of a transcript of a

   court proceeding (including a teleconference), such party should expressly note that intent at the

   start of the court proceeding. Should the party subsequently choose to make a request for sealing

   or redaction, it must, promptly after the completion of the transcript, file with the Court a motion

   for sealing/redaction, and include as attachments (1) a copy of the complete transcript highlighted

   so the Court can easily identify and read the text proposed to be sealed/redacted, and (2) a copy of

   the proposed redacted/sealed transcript. With their request, the party seeking redactions must

   demonstrate why there is good cause for the redactions and why disclosure of the redacted material

   would work a clearly defined and serious injury to the party seeking redaction.

            6.     Courtesy Copies. Other than with respect to "discovery matters," which are

   governed by paragraph 9(g), and the final pretrial order, which is governed by paragraph 22, the

   parties shall provide to the Court two (2) courtesy copies of all briefs and one ( 1) courtesy copy of


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                any other document filed in support of any briefs (i.e., appendices, exhibits, declarations, affidavits

                etc.). This provision also applies to papers filed under seal.

                         7.       ADR Process. This matter is referred to a magistrate judge to explore the possibility

Jt~
  v             of alternative dispute resolution.

                         8.       Disclosures. Absent agreement among the parties, and approval of the Court:

 \o        ~                      a.      By

  ~4v\'                          ~ P l a i n t i f f1 shall identify the accused product(s), including accused

 1'."~l-j~ \...b.,,j\_,           methods and systems, and its damages model, as well as the asserted patent(s) that

 ~~ v..A\          ili(           the accused product( s) allegedly infringe( s). Plaintiff shall also produce the file
 btt ✓,                           history for each asserted patent.
   c~~\~J                         b.                                                  , Defendant shall produce all
 -~~
 \)-~~                            source code related to the accused products.]

                                  C.     ~ Defendant shall produce core technical documents
J \;-.,c.,J\\
 \J.J)~                           related to the accused product(s), sufficient to show how the accused product(s)

- tJ~1v~v                         work(s), including but not limited to non-publicly available operation manuals,

~ (A~\~                           product literature, schematics, and specifications. Defendant shall also produce

oJ\l)t~+                     J    sales figures for the accused product(s).


€) -~) ~~                         d.     ~ Plaintiff shall produce an initial claim chart


s~~~r'                            relating each known accused product to the asserted claims each such product


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      /




                         1
                             ~ :                   References to "Plaintiff'' and "Defendant" in this Section refer to

                "Counterclaim Plaintiff'' and "Counterclaim Defendant," respectively.]

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                  e.

                  contentions for each asserted claim, as well as the known related invalidating

                  references.

                  f.          By October 28, 2019, Plaintiff shall provide final infringement

                  contentions.

                  g.          By November 4, 2019, Defendant shall provide final invalidity

                  contentions.

            9.     Discovery. Unless otherwise ordered by the Court, the limitations on discovery

   set forth in Local Rule 26.1 shall be strictly observed.

                  a.          Discovery Cut Off. All fact discovery in this case shall be initiated so that

                  it will be completed on or before November 6, 2019.

                  b.          Document Production.

                         1.          Document production shall be substantially complete by October 4,

                         2019 .

                        11.          Time to Respond. Notwithstanding Federal Rule of Civil Procedure

                         34, the parties must serve their answers and objections to any requests for

                         production no later than fourteen (14) days after being served with the

                         requests.

                  c.          Requests for Admission.

                         i.          A maximum of twenty (20) requests for admission are permitted for

                         each side (not including requests for authentication of documents).

                        11.          Time to Respond. Notwithstanding Federal Rule of Civil Procedure

                         36, the parties must serve their answers and objections to any requests for


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                      admission no later than fourteen (14) days after being served with the

                      requests.

                d.         Interrogatories.

                      1.          A maximum of twenty-five (25) interrogatories, including

                      contention interrogatories, are permitted for each side (excluding

                      interrogatories proffered during expedited discovery pursuant to PlaintifPs

                      Motion for Preliminary Injunction).

                     11.          The Court encourages the parties to serve and respond to contention

                       interrogatories early in the case. In the absence of agreement among the

                       parties, contention interrogatories, if filed, shall first be addressed by the

                       party with the burden of proof. The adequacy of all interrogatory answers

                       shall be judged by the level of detail each party provides; i.e., the more detail

                       a party provides, the more detail a party shall receive.

                     n1.          Time to Respond. Notwithstanding Federal Rule of Civil Procedure

                       33, the parties must serve their answers and objections to any interrogatories

                       no later than fourteen (14) days after being served with the interrogatories.

                e.         Depositions.

                           1.     Limitation on Hours for Deposition Discovery. Each side is limited

                     to a total of seventy (70) hours ~ and 10 deposition{ ~                                Th
                     excluding depositions during expedited discovery] of taking testimony b~

                     deposition upon oral examination.

                           n.     Location of Depositions. Any party or representative (officer,

                     director, or managing agent) of a party filing a civil action in this district court


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                      must ordinarily be required, upon request, to submit to a deposition at a place

                      designated within this district. Exceptions to this general rule may be made

                      by order of the Court. A defendant who becomes a counterclaimant, cross-

                      claimant, or third-party plaintiff shall be considered as having filed an action

                      in this Court for the purpose of this provision.

                 f.    Disclosure.

                        i.     Expert Reports. For the party who has the initial burden of proof on

                      the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert

                      testimony is due on or before November 8, 2019. The supplemental

                      disclosure to contradict or rebut evidence on the same matter identified by

                      another party is due on or before November 27, 2019. No other expert reports

                      will be permitted without either the consent of all parties or leave of the Court.

                      Along with the submissions of the expert reports, the parties shall advise of

                      the dates and times of their experts' availability for deposition.

                        ii.     Expert Report Supplementation. The parties agree they will not

                      permit expert declarations to be filed in connection with motions briefing

                      (including case-dispositive motions).

                       n1.      Objections to Expert Testimony. To the extent any objection to

                      expert testimony is made pursuant to the principles announced in Daubert v.

                      Merrell Dow Pharm. , Inc. , 509 U.S . 579 (1993), as incorporated in Federal

                      Rule of Evidence 702, it shall be made by motion no later than the deadline

                      for motions in limine set forth herein, unless otherwise ordered by the Court.

                      Briefing on such motions is subject to the page limits set out in connection


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                     with briefing of case dispositive motions.

                      iv.      Expert Discovery Deadline. All expert discovery in this case shall

                     be completed by December 13, 2019.

                g.    Discovery Matters and Disputes Relating to Protective Orders.

                       1.      Any discovery motion filed without first complying with the

                     following procedures will be denied without prejudice to renew pursuant to

                     these procedures.

                      n.       Should counsel find, after good faith efforts - including verbal

                     communication among Delaware and Lead Counsel for all parties to the

                     dispute - that they are unable to resolve a discovery matter or a dispute

                     relating to a protective order, the parties involved in the discovery matter or

                     protective order dispute shall submit a joint letter in substantially the

                     following form:

                            Dear Judge Stark:

                                       The parties in the above-referenced
                            matter write to request the scheduling of a
                            discovery teleconference.


                                        The following attorneys, including at
                            least one Delaware Counsel and at least one Lead
                            Counsel per party, participated in a verbal
                            meet-and-confer (in person and/or by telephone)
                            on the following date(s):


                            Delaware Counsel:- - - - - - - - - - -

                            Lead Counsel:- - - - - - - - - - - -

                                        The disputes requiring judicial attention
                            are listed below:

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                               [provide here a non-argumentative
                               list of disputes requiring judicial
                               attention]

                        111.      On a date to be set by separate order, generally not less than forty-

                       eight ( 48) hours prior to the conference, the party seeking relief shall file with

                       the Court a letter, not to exceed three (3) pages, outlining the issues in dispute

                       and its position on those issues. On a date to be set by separate order, but

                       generally not less than twenty-four (24) hours prior to the conference, any

                       party opposing the application for relief may file a letter, not to exceed three

                       (3) pages, outlining that party's reasons for its opposition.

                         iv.      Each party shall submit two (2) courtesy copies of its discovery

                       letter and any attachments.

                         v.       Should the Court find further briefing necessary upon conclusion of

                       the telephone conference, the Court will order it. Alternatively, the Court may

                       choose to resolve the dispute prior to the telephone conference and will, in

                       that event, cancel the conference.

            10.   Motions to Amend.

                  a.     Any motion to amend (including a motion for leave to amend) a pleading

                  shall NOT be accompanied by an opening brief but shall, instead, be accompanied

                  by a letter, not to exceed three (3) pages, describing the basis for the requested

                  relief, and shall attach the proposed amended pleading as well as a "blackline"

                  comparison to the prior pleading.

                  b.     Within seven (7) days after the filing of a motion in compliance with this

                  Order, any party opposing such a motion shall file a responsive letter, not to

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                   exceed five (5) pages.

                   c.     Within three (3) days thereafter, the moving party may file a reply letter,

                   not to exceed two (2) pages, and, by this same date, the parties shall file a letter

                   requesting a teleconference to address the motion to amend.

             11.   Motions to Strike.

                   a.     Any motion to strike any pleading or other document shall NOT be

                   accompanied by an opening brief but shall, instead, be accompanied by a letter,

                   not to exceed three (3) pages, describing the basis for the requested relief, and

                   shall attach the document to be stricken.

                   b.      Within seven (7) days after the filing of a motion in compliance with this

                   Order, any party opposing such a motion shall file a responsive letter, not to

                   exceed five (5) pages.

                   c.      Within three (3) days thereafter, the moving party may file a reply letter,

                   not to exceed two (2) pages, and, by this same date, the parties shall file a letter

                   requesting a teleconference to address the motion to strike.

             12.   Tutorial Describing the Technology and Matters in Issue. Unless otherwise

   ordered by the Court, the parties shall provide the Court, no later than the date on which their

   opening claim construction briefs are due, a tutorial on the technology at issue. In that regard, the

   parties may separately or jointly submit a DVD of not more than thirty (30) minutes. The tutorial

   should focus on the technology in issue and should not be used for argument. The parties may

   choose to file their tutorial(s) under seal, subject to any protective order in effect. Each party may

   comment, in writing (in no more than five ( 5) pages) on the opposing party's tutorial. Any such

   comment shall be filed no later than the date on which the answering claim construction briefs


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                  are due. As to the format selected, the parties should confirm the Court's technical abilities to

                  access the information contained in the tutorial (currently best are "mpeg" or "quicktime").

                              13.   Claim Construction Issue Identification. On September 21, 2019, the parties shall

                  exchange a list of those claim term(s)/phrase(s) that they believe need construction and their

                  proposed claim construction of those term(s)/phrase(s). This document will not be filed with the

                  Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a Joint

                  Claim Construction Chart to be submitted on September 27, 2019. The parties' Joint Claim

                  Construction Chart should identify for the Court the term(s)/phrase(s) of the claim(s) in issue,

                  and should include each party's proposed construction of the disputed claim language with

                  citation(s) only to the intrinsic evidence in support of their respective proposed constructions. A

                  copy of the patent(s) in issue as well as those portions of the intrinsic record relied upon shall be

_       ~ ~       sub~itted with this Joint Claim Construction Chart. In this joint submission, the parties shall not

                  provide argument.

(q '\I>   ,.&JU~4.                  Claim Construction Briefing. The p                           neously submit initial

 j-> ,..:_y
Gl~.) ~           shall be contemporaneously submitted on Octob
(jJ-JtrJv¼l-
          .   ~   papers on claim construction shall be su      itted without leave o the Court. Local Rule 7 .1.3 (4)
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                                    Hearing on Claim Construction. Beginning
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                  The parties shall notify the Court, by joint letter submission, no later than the date on which their

                  answering claim construction briefs are due: (i) whether they request leave to present testimony

                  at the hearing; and (ii) the amount of time they are requesting be allocated to them for the


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   hearing.

              Provided that the parties comply with all portions of this Scheduling Order, and any other

   orders of the Court, the parties should anticipate that the Court will issue its claim construction

   order within sixty (60) days of the conclusion of the claim construction hearing. If the Court is

   unable to meet this goal, it will advise the parties no later than sixty (60) days after the

   conclusion of the claim construction hearing.

              16.    Interim Status Report(s). On September 11, 2019 and October 16, 2019, counsel

    shall submit a joint letter to the Court with an interim report on the nature of the matters in issue

    and the progress of discovery to date. Thereafter, if the Court deems it necessary, it will schedule

    a status conference.

              17.    Supplementation. Absent agreement among the parties, and approval of the Court,

    no later than October 18, 2019, the parties must finally supplement, inter alia, the identification

    of all accused products and of all invalidity references.

              18.    ( ~ a s e Dispositive Motions. Any party that wishes to file case

    dispositive motions shall seek leave from the Court according to the following letter briefing

    process:

                     a.      Any motion for leave to file a dispositive motion shall NOT be accompanied

                     by an opening brief but shall, instead, be accompanied by a letter, not to exceed three

                     (3) pages, describing the basis for the requested relief.

                     b.      Within seven (7) days after the filing of a motion in compliance with this

                     Order, any party opposing such a motion shall file a responsive letter, not to exceed

                     three (3) pages, and, by this same date, the parties shall file a letter requesting a

                     teleconference to address the motion for leave to file a dispositive motion.

                     c.      Should the Court find further briefing necessary upon conclusion of the
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                   telephone conference, the Court will order it. Alternatively, the Court may choose

                   to resolve the dispute prior to the telephone conference and will, in that event,

                   cancel the conference.]

             19.   .u.-=='-"--1=-"==:..:...::==-=:=='-"',-=-=-'-"'o"'-t""io"'-'n=s. Absent agreement of the parties or

                                                        (excluding Daubert motions), an opening brief, and

                                              ·on shall be served and filed on or before November 26, 2019.

                                                11 file a responsive brief on or before December 11, 2019.

   The moving party max                                    efore December 19, 2019.]

             20.   Applications by Motion. Except as otherwise specified herein, any application to

   the Court shall be by written motion filed with the Clerk. Any non-dispositive motion should

    contain the statement required by Local Rule 7 .1.1.




                   a. Any motion shall NOT be accompanied by an opening brief but shall, instead,

                        be accompanied by a letter, not to exceed three (3) pages, describing the basis




                   b.

                        any party opposing such a motion shall file a responsive letter, not to exceed

                        three (3) pages, and, by this same date, the parties shall file a letter requesting

                        a teleconference to address the motion.

                   c.   Should the Court find further briefing necessary upon conclusion of the

                        telephone conference, the Court will order it. Alternatively, the Court may

                        choose to resolve the dispute prior to the telephone conference and will, in that

                        event, cancel the conference.]


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              21.     Pretrial Conference. On January 3, 2020, the Court will hold a pretrial
                                                       n~oo
   conference in Court with counsel beginning at)( a.m. Unless otherwise ordered by the Court, the

   parties should assume that filing the pretrial order satisfies the pretrial disclosure requirement of

   Federal Rule of Civil Procedure 26(a)(3). The parties shall file with the Court the joint proposed

    final pretrial order with the information required by the form of Revised Final Pretrial Order-

   Patent, which can be found on the Court's website (www.ded.uscourts.gov), on or before

   December 23, 2019. Unless otherwise ordered by the Court, the parties shall comply with the

   timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the joint proposed final

    pretrial order.

              The parties shall provide the Court two (2) courtesy" copies of the joint proposed final

    pretrial order and all attachments.

              As noted in the Revised Final Pretrial Order- Patent, the parties shall include in their joint

    proposed final pretrial order, among other things:

                      a.      a request for a specific number of hours for their trial presentations, as

                      well as a requested number of days, based on the assumption that in a typical jury

                      trial day (in which there is not jury selection, jury instruction, or deliberations),

                      there will be 5 ½ to 6 ½ hours of trial time, and in a typical bench trial day there

                      will be 6 to 7 hours of trial time;

                      b.      their position as to whether the Court should allow objections to efforts to

                      impeach a witness with prior testimony. including objections based on lack of

                      completeness and/or lack of inconsistency;

                      c.      their position as to whether the Court should rule at trial on objections to

                      expert testimony as beyond the scope of prior expert disclosures, taking time from


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                    the parties' trial presentation to argue and decide such objections, or defer ruling

                    on all such objections unless renewed in writing following trial, subject to the

                    proviso that a party prevailing on such a post-trial objection will be entitled to

                    have all of its costs associated with a new trial paid for by the party that elicited

                    the improper expert testimony at the earlier trial; and

                    d.     their position as to how to make motions for judgment as a matter of law,

                    whether it be immediately at the appropriate point during trial or at a subsequent

                    break, whether the jury should be in or out of the courtroom, and whether such

                    motions may be supplemented in writing.

              22.   Motions in Limine. Motions in limine shall not be separately filed. All in limine

   requests and responses thereto shall be set forth in the proposed pretrial order. Each SIDE shall

   be limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

   request and any response shall contain the authorities relied upon; each in limine request may be

   supported by a maximum of three (3) pages of argument and may be opposed by a maximum of

   three (3) pages of argument, and the side making the in limine request may add a maximum of

   one (1) additional page in reply in support of its request. If more than one party is supporting or

   opposing an in limine request, such support or opposition shall be combined in a single three (3)

   page submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered

   by the Court. No separate briefing shall be submitted on in limine requests, unless otherwise

   permitted by the Court.

              23.   Jury Instructions, Voir Dire, and Special Verdict Forms. Where a case is to be

   tried to a jury, pursuant to Local R'ules 4 7 and 51 the parties should file (i) proposed voir dire,

   (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict forms three


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   (3) business days before the final pretrial conference. This submission shall be accompanied by a



   format, which may be submitted by e-mail to Judge Stark's staff.



                                                                         ~ ] j u r y trial

   beginning at 9:30a.m. on January~            , 2020, with the subsequent trial days beginning at

   9:00a.m. Until the case is submitted to the jury for deliberations, the jury will be excused each

   day at 4:30 p.m. The trial will be timed, as counsel will be allocated a total number of hours in

   which to present their respective c es/   vJ,-.1 ~ ...-,;\,~    ls> f I lJ   ~ _,~ "-ti)   lQ_,j J   }(k~ '-""'
                                                                                                                      q.
                                                                                                             t
             25.   Judgment on Vcrdict and Post-Trial Status Report. Within seven (7) days afte a ~ ; '

   jury returns a verdict in any portion of a jury trial, the parties shall jointly submit a form of o der      rl~    l!}
   to enter judgment on the verdict. At the same time, the parties shall submit a joint status repo ,           ~ J,
   indicating among other things how the case should proceed and listing any post-trial motions

   each party intends to file .

             26.   Post-Trial Motions. Unless otherwise ordered by the Court, all SIDES are limited

   to a maximum of 20 pages of opening briefs, 20 pages of answering briefs, and 10 pages of reply

   briefs relating to any post-trial motions filed by that side, no matter how many such motions are

   filed.




                                                                     S DISTRICT JUDGE




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